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     Law Offices of Ron Peters
 1
     RON PETERS (SBN: 45749)
 2   901 H Street, Suite 611
     Sacramento, California 95814
 3   Telephone: (916) 322-2472
     Facsimile: (916) 322-3208
 4
     Email: ronslaw207@sbcglobal.net
 5
     Attorney for Defendant
 6   JAIME MAYORGA
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,             )             No. 11-CR-00296 WBS
11                                         )
                                           )
12         Plaintiff,                      )             STIPULATION AND ORDER
                                           )             REMOVING SECURED BOND AND
13   v.                                    )             REPLACING WITH UNSECURED BOND
                                           )
14                                         )
     JAIME MAYORGA                         )
15                                         )
           Defendant,                      )
16                                         )
                                           )
17   _____________________________________ )
18
            Defendant, Jaime Mayorga through his attorney, Ron Peters and Brian A. Fogerty
19
     Assistant United States Attorney agree and stipulate that Mr. Mayorga may substitute the secured
20
     bond and property of Guadalupe Hernandez located at 1517 Ashley Avenue, Woodland
21

22   California and replace with a $100,000 unsecured bond co-signed by Michael Mayorga,

23   Armando Mayorga, and Miguel Vasquez. The Pretrial Service Officer was notified of this
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     requested change and has agreed to the substitution of the property for the unsecured bond.
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     DATE: November 21, 2017                  /s/Ron Peters
 1
                                              RON PETERS
 2                                            Attorney for Defendant
                                              Jaime Mayorga
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 4
                                              /s/ Brian A. Fogerty_____________
 5                                            Brian A. Fogerty
                                              Assistant United States Attorney
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                                                     ORDER
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 2           Based on the stipulation of the parties and good cause appearing there from, the Court

 3   hereby adopts the stipulations of the parties in its entirety as its Order.
 4

 5           IT IS SO ORDERED

 6   Date: November 22, 2017                                 /s/ JOHN A. MENDEZ
 7
                                                             HONORABLE JOHN A. MENDEZ
                                                             UNITED STATES DISTRICT JUDGE
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